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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:

     Eastern
     ____________________             North Carolina
                          District of _________________
                                          (State)
     Case number (If known): _________________________ Chapter _____   7
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                            Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Lift It Capital, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know               none
                                       __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________

                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification            Unknown
     Number (EIN)
                                        4 7           4 0 0 9 6 1 5
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                        460           Causeway Drive-Unit 1
                                       ________________________________________________                   5830     E 2nd St Ste 8
                                                                                                      _________________________________________________
                                       Number     Street                                              Number     Street


                                        Attn: Matthew Scott Diggs
                                       _________________________________________________
                                                                                                      _________________________________________________
                                                                                                      P.O. Box

                                        Wrightsville Beach
                                       ______________________________        NC      28480
                                                                            _______ _________             Casper                      WY     82609
                                                                                                      _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business

                                        New Hanover
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor         Lift It Capital, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        https://www.liftitrentals.com/
                                    _____________________________________________________________________________________________________




7.    Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                     None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your               No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                     Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                     The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a               No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor           Lift It Capital, LLC
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




13.   Each petitioner’s claim                 Name of petitioner                                  Nature of petitioner’s claim              Amount of the claim
                                                                                                                                            above the value of
                                                                                                                                            any lien


                                              First National Bank of Pennsylvania
                                              ______________________________________                 loan
                                                                                                  _________________________________           18,600.00
                                                                                                                                            $ ________________

                                              First Merchants Bank
                                              ______________________________________                 loan
                                                                                                  _________________________________           18,600.00
                                                                                                                                            $ ________________

                                              Live Oak Banking Company
                                              ______________________________________                 loan
                                                                                                  _________________________________           18,600.00
                                                                                                                                            $ ________________

                                                                                                        Total of petitioners’ claims          55,800.00
                                                                                                                                            $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:       Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                       Attorneys


      Name and mailing address of petitioner

      First National Bank of Pennsylvania
      ______________________________________________________________
                                                                                        Lisa P. Sumner
                                                                                       ________________________________________________________________
      Name                                                                             Printed name


      One      North Shore Center, Ste. 503, 12 Federal St.                             Maynard Nexsen
                                                                                       ________________________________________________________________
      ______________________________________________________________                   Firm name, if any
      Number Street

      Pittsburgh                                PA                 15212
      _________________________________ ______________ _____________
                                                                                        4141 Parklake Avenue, Ste. 200
                                                                                       ________________________________________________________________
      City                              State          ZIP Code                        Number Street

                                                                                        Raleigh                                  NC             27612
                                                                                       _________________________________ ______________ _____________
                                                                                       City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      Joseph Oots
      ______________________________________________________________                   Contact phone     919-573-7423 Email ___________________________
                                                                                                        _________________   lsumner@maynardnexsen.com
      Name

      1508 Military Cutoff Road, Suite100
      ______________________________________________________________                   Bar number       22838
                                                                                                       ___________________________________________________
      Number Street

      Wilmington                                NC                 29403
      _________________________________ ______________ _____________                   State            NC
                                                                                                       _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                   07 10 2023
      Executed on _____/_____/_______
                  MM / DD / YYYY                                                     LSumner                            Digitally signed by LSumner
                                                                                        ________________________________________________________________
                                                                                                                         Date: 2023.07.10 21:25:37 -04'00'
                                                                                       Signature of attorney

 Joseph Oots                                   Digitally signed by Joseph Oots
      ______________________________________________________________
                                                Date: 2023.07.11 09:34:55 -04'00'
                                                                                       Date signed       07 10 2023
                                                                                                        ____/_____/______
      Signature of petitioner or representative, including representative’s title
                                                                                                        MM / DD / YYYY



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Debtor         Lift It Capital, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

    First Merchants Bank
   ______________________________________________________________
                                                                                           Kayla D. Britton
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


   10333       N. Meridian Street, Suite 350                                               Taft Stettinius & Hollister LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Carmel                                       Indiana
   _________________________________ ______________ _____________    46290                 One Indiana Square, Suite 3500
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                           Indianapolis                              Indiana
                                                                                          _________________________________ ______________ _____________           46204
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    317-713-3500 Email ___________________________
                                                                                                           _________________  KBritton@taftlaw.com
    Patrick Berghoff
   ______________________________________________________________
   Name
                                                                                          Bar number       29177-06
                                                                                                          ___________________________________________________
   10333       N. Meridian Street, Suite 350
   ______________________________________________________________
   Number Street
                                                                                          State            Indiana
                                                                                                          _________________
    Carmel                                       Indiana
   _________________________________ ______________ _____________    46290
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                07 10 2023
   Executed on _____/____/________
               MM / DD / YYYY
                                                                                        Kayla D. Britton                       Digitally signed by: Kayla D. Britton
                                                                                                                                DN: CN = Kayla D. Britton email = KBritton@taftlaw.com C = AD
                                                                                           ________________________________________________________________
                                                                                                                           Date: 2023.07.11 13:50:28 -04'00'

                                                                                          Signature of attorney


 Patrick J Berghoff                Digitally signed by Patrick J Berghoff
    ______________________________________________________________
                                    Date: 2023.07.11 10:45:28 -04'00'                     Date signed       07 10 2023
                                                                                                           ____/_____/______
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    Live Oak Banking Company
   ______________________________________________________________
                                                                                           Kayla D. Britton
                                                                                          ________________________________________________________________
   Name                                                                                   Printed name


    1741       Tiburon Drive                                                               Taft Stettinius & Hollister LLP
                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

    Wilmington                                      NC
   _________________________________ ______________ _____________    28403                 One Indiana Square, Suite 3500
                                                                                          ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                           Indianapolis                              Indiana
                                                                                          _________________________________ ______________ _____________           46204
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone     317-713-3500 Email ___________________________
                                                                                                           _________________   KBritton@taftlaw.com
    Angela Wylubski
   ______________________________________________________________
   Name
                                                                                          Bar number       29177-06
                                                                                                          ___________________________________________________
    1741 Tiburon Drive
   ______________________________________________________________
   Number Street
                                                                                          State            Indiana
                                                                                                          _________________
    Wilmington                                   NC
   _________________________________ ______________ _____________    28403
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                         2023
               07 10 /______
   Executed on ____/____
               MM / DD / YYYY
                                                                                        Kayla D. Britton                       Digitally signed by: Kayla D. Britton
                                                                                                                                DN: CN = Kayla D. Britton email = KBritton@taftlaw.com C = AD
                                                                                           ________________________________________________________________
                                                                                                                           Date: 2023.07.11 13:50:45 -04'00'

                                                                                          Signature of attorney


 Angela Wylubski                   Digitally signed by Angela Wylubski
    ______________________________________________________________
                                    Date: 2023.07.11 13:34:42 -04'00'                     Date signed      07 10 2023
                                                                                                           ____/_____/______
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




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